     UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF WASHINGTON
                                 AT SEATTLE

    JERMAINE D. DOSS,                            JUDGMENT IN A CIVIL CASE

                        Plaintiff,               CASE NO. C16-1695 TSZ

         v.

    TOM HEYMAN, et al.,

         Defendants.

      Jury Verdict. This action came before the court for a trial by jury. The issues
      have been tried and the jury has rendered its verdict.

X     Decision by Court. This action came on for consideration before the court. The
      issues have been considered and a decision has been rendered.

      THE COURT HAS ORDERED THAT

      The Report and Recommendation, docket no. 4, is ADOPTED. Plaintiff’s motion
      for dismissal without prejudice, docket no. 5, is DENIED in part as to his claim
      under 42 U.S.C. § 1983 against defendant Tom Heyman, which is hereby
      DISMISSED with prejudice, and GRANTED in part as to future claims under
      appropriate product liability or consumer protection laws, which are not precluded
      by this judgment.

      Dated this 7th day of December, 2016.

                                                William M. McCool
                                                Clerk

                                                s/Karen Dews
                                                Deputy Clerk
